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United States District Court
for the
Southern District of Florida

Circuitronix, LLC, Plaintiff, )

)
“ Civil Action No. 21-60125-Civ-Scola
Jiangmen Benlida Printed Circuit )

Co., Ltd., Defendant. )
Verdict Form

We, the jury in the above-titled action, unanimously find as follows:

Question eee breach the parties’ contract?
Ye

Ss No

If your answer to Question 1 is NO, your verdict is for Benlida, and you
should not proceed further except to date and sign this verdict form and return
it to the courtroom. If you answered YES to Question 1, please answer
Question 2.

Question 2: Wes damaged by Benlida’s breach of the contract?

Yes No

If your answer to Question 2 is NO, your verdict is for Benlida on this
claim, and you should not proceed further except to date and sign this verdict
form and return it to the courtroom. If your answer to Question 2 is YES,
please answer Question 3.

Question 3: What are CTX-US’s damages as a result of Benlida’s breach of the
contract?

Total: $ i 585 84

Forepersorrs signature

:

Foreperson’s juror number

Dated: October 24 __, 2023
